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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DONNA CURLING, et al.

       Plaintiffs,
                                               CIVIL ACTION
       v.
                                               FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,

       Defendants.


  STATE DEFENDANTS’ MOTION TO SEAL OR ALTERNATIVELY
 REDACT THE TRANSCRIPT OF THE OCTOBER 1, 2020 HEARING

      During the emergency hearing before this Court on October 1, 2020, the

Court indicated that it would determine what portions of the hearing could be

made available on the public docket. Hearing Trans. at 63:9-12. Thereafter,

the Court stated that the parties “are welcome to send [the Court], just

having participated in this, any of your position about this and about what

portion should be in the public or if all of it can be in the public.” Hearing

Trans. at 63:17-20. In response, Defendants Brad Raffensperger, Rebecca N.

Sullivan, David J. Worley, Anh Le, and Matthew Mashburn (collectively,

“State Defendants”) file this motion to seal or redact portions of the hearing

transcript containing sensitive information related to the Dominion BMDs

and Dominion’s intellectual property.
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             ARGUMENT AND CITATION TO AUTHORITY

      A.    Legal Standard.

      “It is uncontested” that the public’s “right to inspect and copy judicial

records is not absolute.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598

(1978). Accordingly, sealing sensitive documents is warranted upon a

showing of “good cause.” Romero v. Drummond Co., Inc., 480 F.3d 1234, 1246

(11th Cir. 2007); see also Fed. R. Civ. P. 26(c)(1)(G) (noting a trial court may

require that certain information “not be revealed or be revealed only in a

specified way”). In determining whether good cause exists to support sealing,

courts are instructed to consider: “whether allowing access would impair

court functions or harm legitimate privacy interests, the degree of and

likelihood of injury if made public, the reliability of the information, whether

there will be an opportunity to respond to the information, whether the

information concerns public officials or public concerns, and the availability

of a less onerous alternative to sealing the documents.” Romero, 480 F.3d at

1246; see also Local Rules at App. H. § II(J) (incorporating these factors).

      B.    Good Cause Exists for Sealing or Redacting the
            Documents.

      There is good cause to seal Dr. Coomer’s testimony from the hearing.

Dominion is not a party to this lawsuit, but Dominion voluntarily attended



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the hearing to assist the Court with its questions. And now Dominion is at

risk of having its intellectual property rights compromised as a result of

voluntarily attending the October 1, 2020 hearing and being forthright in

response to questions from the Court and Plaintiffs’ counsel.

      The testimony of Dr. Coomer at the October 1, 2020 hearing includes

information regarding Dominion’s review of its BMD system in light of the

unique layout on the BMD for the United States Senate special election on

the ballot this year. Dr. Coomer also testified about Dominion’s findings from

its review of the unique issue due to the layout of the United States Senate

special election on the ballot. Specifically, the portions of the hearing

transcript that should be sealed or redacted are at the following page and line

numbers: 23:10 – 26:1; 26:5 – 26:16; 27:5 – 27:14; 28:9 – 29:5; 29:14 – 30:8.

      While Dr. Coomer’s testimony may not be sufficient in itself to

compromise the BMDs, it would disclose intellectual property of Dominion,

which should be a consideration given the company’s voluntary participation

in the Court’s hearing. Thus, “allowing access would . . . harm legitimate

privacy interests.” See Romero, 480 F.3d at 1246.




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                             CONCLUSION

     Good cause having been shown, State Defendants’ Motion to Seal or

Alternatively Redact the October 1, 2020 Hearing Transcript should be

granted.

     Respectfully submitted this 2nd day of October, 2020.

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                       L.R. 7.1(D) CERTIFICATION

      I certify that this Motion has been prepared with one of the font and

point selections approved by the Court in Local Rule 5.1(C). Specifically, this

Notice has been prepared using 13-pt Century Schoolbook font.


                                     /s/ Vincent R. Russo
                                     Vincent R. Russo




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                        CERTIFICATE OF SERVICE

      I hereby certify that I have this day filed the within and foregoing

STATE DEFENDANTS’ MOTION TO SEAL OR ALTERNATIVELY

REDACT THE TRANSCRIPT OF THE OCTOBER 1, 2020 HEARING

with the Clerk of Court using the CM/ECF system, which will automatically

send counsel of record e-mail notification of such filing.

      This 2nd day of October, 2020.


                                     /s/ Vincent R. Russo
                                     Vincent R. Russo
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